Case 2:21-cv-07108-DMG-E                Document 39 Filed 12/09/22                  Page 1 of 4 Page ID
                                               #:306



                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

Case No.      CV 21-7108-DMG (Ex)                                              Date     December 9, 2022

Title Danny Lopez v. Aircraft Service International, Inc., et al.                             Page     1 of 4

Present: The Honorable         DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               KANE TIEN                                                      NOT REPORTED
               Deputy Clerk                                                    Court Reporter

    Attorneys Present for Plaintiff(s)                               Attorneys Present for Defendant(s)
             None Present                                                      None Present

Proceedings: IN CHAMBERS—ORDER DENYING DEFENDANTS’ MOTION TO
             COMPEL ARBITRATION [29]

        On July 21, 2021, Plaintiff Danny Lopez filed a Complaint in Los Angeles County
Superior Court against Defendants Aircraft Service International, Inc. and Menzies Aviation
(USA), Inc., asserting a single claim under California’s Private Attorneys General Act
(“PAGA”) for wage and hour violations. Compl. [Doc. # 1-2.]1 On September 2, 2021,
Defendants removed the action to this Court, invoking federal question jurisdiction on the basis
that portions of Lopez’s claim are completely preempted by the Railway Labor Act, 45 U.S.C. §
151 et seq. See Notice of Removal ¶¶ 5-25.

        On April 7, 2022, the Court denied Defendants’ motion to stay this action pending the
decision of the United States Supreme Court in Viking River Cruises, Inc. v. Moriana, 142 S. Ct.
1906 (2022), because Defendants had not shown that the Moriana decision would have any
impact on this case. [Doc. # 28.] The Moriana ruling issued on June 15, 2022. Defendants now
move to compel arbitration of Lopez’s claims. [Doc. # 29.] The motion to compel (“MTC”) is
fully briefed. [Doc. ## 34 (“Opp.”), 36 (“Reply”).] Having carefully considered the parties’
written arguments, the Court DENIES the MTC.

                                         I.
                        FACTUAL AND PROCEDURAL BACKGROUND

        Lopez worked for Menzies as a field technician in the fueling department at Los Angeles
International Airport (“LAX”) from approximately December 2007 to April 2021. Lopez Decl. ¶
3 [Doc. # 34-1]; see also Bazerkanian Decl. ¶ 4 [Doc. # 29-2]. His job included physically


        1
           Plaintiff also named “Air Menzies International (USA), Inc.” as a defendant. Defendants maintain that
this entity does not exist. Plaintiff does not appear to contest this, so for purposes of this motion, the Court
disregards this defendant.


CV-90                                  CIVIL MINUTES—GENERAL                          Initials of Deputy Clerk KT
Case 2:21-cv-07108-DMG-E           Document 39 Filed 12/09/22            Page 2 of 4 Page ID
                                          #:307



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Case No.    CV 21-7108-DMG (Ex)                                      Date     December 9, 2022

Title Danny Lopez v. Aircraft Service International, Inc., et al.                   Page     2 of 4

adding fuel to passenger and cargo airplanes involved in both foreign and domestic interstate
travel. Lopez Decl. ¶ 3.

        Menzies has an Alternative Dispute Resolution (“ADR”) Policy that covers “all disputes
arising” between signing employees and Menzies, and refers such disputes to binding arbitration.
Bazerkanian Decl., Ex. A [Doc. # 29-2]. The ADR Policy also prohibits employees “from
joining or participating in a class action or as a collective action representative, or otherwise
consolidating a covered claim with the claims of others.” Id. at 6. Menzies contends that Lopez
consented to the ADR Policy on June 28, 2019. Bazerkanian Decl. ¶ 4.

                                            II.
                                     LEGAL STANDARD

        The Federal Arbitration Act (“FAA”) provides that written arbitration agreements are
“valid, irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the
revocation of any contract.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 336
(2011). “The basic role for courts under the FAA is to determine ‘(1) whether a valid agreement
to arbitrate exists and, if it does, (2) whether the agreement encompasses the dispute at
issue.’” Kilgore v. KeyBank Nat’l Ass’n, 718 F.3d 1052, 1058 (9th Cir. 2013) (en banc)
(quoting Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000)).

       Federal substantive law governs questions concerning the interpretation and
enforceability of arbitration agreements. Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,
460 U.S. 1, 22–24 (1983). Courts apply ordinary state law contract principles, however, “[w]hen
deciding whether the parties agreed to arbitrate a certain matter.” First Options of Chi., Inc. v.
Kaplan, 514 U.S. 938, 944 (1995). If an arbitration clause is not itself invalid under “generally
applicable contract defenses, such as fraud, duress, or unconscionability,” it must be enforced
according to its terms. Concepcion, 563 U.S. at 339. In adjudicating whether parties have
agreed to arbitrate, “district courts rely on the summary judgment standard of Rule 56 of the
Federal Rules of Civil Procedure.” Hansen v. LMB Mortg. Servs., Inc., 1 F.4th 667, 670 (9th
Cir. 2021).




CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:21-cv-07108-DMG-E                Document 39 Filed 12/09/22                 Page 3 of 4 Page ID
                                               #:308



                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

Case No.      CV 21-7108-DMG (Ex)                                             Date     December 9, 2022

Title Danny Lopez v. Aircraft Service International, Inc., et al.                            Page     3 of 4

                                                  III.
                                              DISCUSSION

       Defendants seek to compel arbitration of Lopez’s PAGA claim. Lopez argues the motion
should be denied because Lopez is exempt from the FAA pursuant to another recent Supreme
Court decision, Southwest Airlines Co. v. Saxon, 142 S. Ct. 1793 (2022).2

A.      Exemption Pursuant to Saxon

        Lopez contends that, because he works in the fueling department of Menzies at LAX and
routinely adds fuel to airplanes in interstate commerce, he is engaged in interstate commerce and
thus is exempt from the FAA’s requirements.

        Section 1 of the FAA exempts “contracts of employment of seamen, railroad employees,
or any other class of workers engaged in foreign or interstate commerce” from the Act’s
requirements. 9 U.S.C. § 1. In Saxon, the United States Supreme Court concluded that an airline
employee who frequently loaded and unloaded cargo on airplanes was engaged in interstate
commerce, and thus was exempt from the FAA. 142 S. Ct. at 1793. The Court declined to
create a blanket rule that all airline employees were engaged in interstate commerce. See 142 S.
Ct. at 1791. Still, the Court refused to limit the exemption to only those airline transportation
workers who actually “ride aboard an airplane in interstate or foreign transit.” Id. Instead, the
Court held that the exception applies to “any class of workers directly involved in transporting
goods across state or international borders.” Id. at 1789. The Court focused its attention on the
actual work performed by the employee in question. Id. at 1788.

        Defendants do not contest Lopez’s description of his work, or offer additional evidence
about the nature of that work. Instead, they contend that Section 1 does not cover Lopez’s work
because Lopez does not handle goods in commerce. As the Court recognized in Saxon, the
question of whether an employee works in interstate commerce may be difficult to answer “when
the class of workers carries out duties further removed from the channels of interstate commerce
or the actual crossing of borders.” 142 S. Ct. at 1789 n.2 (citing Rittmann v. Amazon.com, Inc.,
971 F.3d 904, 916 (9th Cir. 2020), cert. denied, 141 S. Ct. 1374 (2021)). For example, the Ninth
Circuit has held that “last leg” delivery drivers fell within Section 1 and were therefore exempt
from the FAA, even though these drivers undisputedly did not actually move goods between
states. See Rittmann, 971 F.3d at 916. On the other hand, another court in this District, applying
Saxon, has concluded that a truck mechanic was not exempt from the FAA because, even though
        2
         Lopez also raises a number of other arguments. Because the Court concludes that the FAA does not apply
under Saxon, the Court need not address these other arguments.

CV-90                                  CIVIL MINUTES—GENERAL                         Initials of Deputy Clerk KT
Case 2:21-cv-07108-DMG-E            Document 39 Filed 12/09/22             Page 4 of 4 Page ID
                                           #:309



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Case No.    CV 21-7108-DMG (Ex)                                       Date     December 9, 2022

Title Danny Lopez v. Aircraft Service International, Inc., et al.                    Page     4 of 4

his employer was “directly engaged in interstate commerce,” the mechanic himself was only
“perceptibly connected to the instrumentalities of commerce.” Holley-Gallegly v. TA Operating
LLC, No. ED CV 22-593-JGB (SHKx), 2022 WL 9959778, at *2-3 (C.D. Cal. Sept. 16, 2022)
(quoting Saxon, 142 S. Ct. at 1791).

        Although an employee who adds fuel to cargo planes is not literally moving goods (as the
plaintiffs in Saxon and Rittmann did), he is closer both physically and temporally to the actual
movement of goods between states than a truck mechanic who works on trucks that move goods
in interstate commerce (as was the case in Holley-Gallegly). The Fifth Circuit has held “there
can be no question” that employees who hauled fuel to planes that transported goods in interstate
commerce were “engaged in commerce” for purposes of the Fair Labor Standards Act because
their activities were “so closely related to [. . .] commerce as to be in practice and in legal
contemplation a part of it.” See Wirtz v. B. B. Saxon Co., 365 F.2d 457, 461 (5th Cir. 1966). By
contrast, the court held that employees who provided janitorial services in buildings that housed
instrumentalities of commerce were not engaged in commerce. Id. at 462.

        Applying similar logic as Wirtz, this Court concludes that the act of fueling cargo planes
that carry goods in interstate commerce is “so closely related to interstate transportation as to be
practically a part of it.” See Saxon, 142 S. Ct. at 1789. Lopez, whose duties included physically
adding fuel to planes, was directly involved in the transportation itself, not only the maintenance
of the means by which goods were transported. The Court therefore concludes that Lopez is
exempt from the requirements of the FAA pursuant to section 1.

                                             IV.
                                         CONCLUSION

        In light of the foregoing, the Court DENIES Defendants’ MTC.

IT IS SO ORDERED.




CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
